Case 9:17-cr-80242-RLR Document 27 Entered on FLSD Docket 07/27/2018 Page 1 of 7




                             UN ITED STA TES DISTR ICT C O U R T                 FILED b%
                                                                                        z              -D.C.
                             SO UTH ERN D ISTR IC T O F FLO R ID A
                                                                                    :
                                                                                    ..
                                                                                    -u;.L t
                                                                                          6'
                                                                                           , l 21
                                                                                                .)$2
                             CASE NO.& -cr-80242-ROSENBERG
                                                                                   STFVEI.JM.I-A7fl)t
                                                                                                    /'r
                                                                                                      2RE
                                                                                   CLERtK tJ.S.D1Sl'CT.
                                                                                    S.D.ofFLA.-KIIAMI
  U M TED STA TES O F A M ER IC A



  SEA LE D D EFEN DA N T,

          D efendant.
                                          /

        G O VER N M EN T'S M E M O R AND IJM C O N CER NIN G V ICTIM N O TICE A ND
                                       RESTITUTIO N

          The govenzm entrespectfully subm its this m em orandum pursuantto the Court's M ay 29,

   2018,requestforinform ation concerning victim noticeand restitution.A sdiscussedbelow ,based

   on theinfonnation currently available,the governm entsubm itsthattheG overnm entofVenezuela

   doesnotqualify forvictim notice orrestitution underthe applicable statutes.

                                       FactualBackzround

          The Venezuelan Governm enthas a foreign currency exchange system under which the

   governmentwillexchangeitslocalcurrency(bolivars)atafixedrateforcertainforeigncurrency.
   The fixed exchange rate has been w ell below the black m arketrate by a substantialfactor for

   several years. For exam ple,in 2014,if an individual used the V enezuelan G overnm ent tlxed

   exchange rate, he could trade approxim ately six bolivars for one dollar. By contrast, if the

   individualused the black m arket exchange rate,itw ould take approxim ately sixty bolivars to

   obtain pne dollar.

          The differencebetween the fixed exchange and the black m arketexchangeratescreates

   opportunity forfraud and abuse. Forexarnple,in 2014,ifan individualhad accessto the fixed
Case 9:17-cr-80242-RLR Document 27 Entered on FLSD Docket 07/27/2018 Page 2 of 7




   exchange rate,an individualcould exchange six m illion bolivars atthe fixed exchange rate and

   obtain one m illion dollars. Subsequently,the individualcould exchange the one m illion dollars

   at the black m arketexchange rate for sixty m illion bolivars. ln this way,the individualcould

   convertsix m illion bolivars into sixty m illion bolivars.

          The V enezuelan Govelmm ent uses brokerage houses to conduct foreign currency

   exchanges.OnlybrokeragehousesapprovedbytheOficinaNacionaldelTesoro (ttONT'')have
   the ability to conductexchange contractsw ith the V enezuelan G overnm entatthe fxed exchange

   rate. From approxim ately 2007 to 2012,the defendantw as the Venezuelan N ationalTreasurer.

   By virtue of his officialposition as the Venezuelan N ational Treasurer,the defandant had the

   ability to influence and decide which brokerage housesreceived governm entbusinessto conduct

   these currency exchanges atthe fixed rate,and thereby profitim m ensely from the exchanges.

   The defendanthaspleaded guilty and adm itted accepting blibesin exchange forauthorizing their

   participation in theforeign exchangeprocessw ith the ON T,asw ellasconspiring to launderfunds

   in the U nited States.

                                               Discussion

                  Crim e V ictim s'R ights A ct,M andatory V ictim s R estitution A d ,and V ictim
                  and W itnessProtection A ct

          The CV RA defines a victim as <Ga person directly and proxim ately harm ed as a resultof

   thecommissionofaFederaloffenseoranoffense....'' 18U.S.C.j3771(e).1.
                                                                     ntheEleventh
   Circuit,courts use a tw o-parttest to detelm ine w hether a person is a crim e victim . See In re

   Stewart,552 F.3d 1285,1288(11th Cir.2008). First,coul'tsççidentifythebehaviorconstituting
   tcom m ission ofa Federaloffense,'''Stewart,552 F.3d at 1288,and in conspiracy cases,courts

   lookatthecentralaim oftheconspiracy,see,e.g.,InreMcNulty,597F.3d344,351-352(6thCir.
   2010)(evaluatingstatuteofoffense).Second,courtsûsidentifythedirectandproximateeffectsof
Case 9:17-cr-80242-RLR Document 27 Entered on FLSD Docket 07/27/2018 Page 3 of 7



  thatbehavioron partiesotherthan the United States. Ifthe crim inalbehaviorcausesa party direct

  and proxim atehannfuleffects,theparty isa victim undertheCV RA .''Stetvart,552 F.3d at1288.

  Thetttdirectg1andproximategjharmlj'''elementsrequirethattheconductunderlying atleast
  one ofthe elem entsofthe offense m ustbe a but-forcause ofthe tççcrim e victim 's'''harm ,and the

  harm m ustbe ç'ça reasonably foreseeable consequence ofthe clim inalconduct.'''bhited States v.

  CreditSuisseAG,2014 W L 5026739,at*4 (E.D.Va.Sept.29,2014)(citing In rcFisher,640
  F.3d 645,648(5th Cir.20l1:,
                            .seealso UnitedStates v.Vergez,2016W L 695709 at*5(N.D.
  Ala.Feb.22,20l6). Forconspiracy cases,courtsdeterminewhetherthehann alleged to the
  victim wasproxim ately caused by the expresspurpose ofthe conspiracy. See,e.g.,M cN ulty,597

  F.3d at352. The question hinges on whetherthe potentialvictim t'wasdirectly and proxim ately

  harm ed by cdm inalconductin the course ofthe conspiracy or ifthe actions taken by defendants

  in theunderlyingcasewhich allegedly hanned (thepumortedvictimjweremerely ancillaryto
  the conspiracy.'' 1d.at351. ln addition,the M cNulty courtnoted that,based on the definition of

  a conspiracy,'titappears logicalthatthose directly and proxim ately hanned by crim inalconduct

  in the course of a conspiracy bem nd the Overt act required to prove the conspiracy w ould be

  victimsundertheCVRA,justastheywouldbeundertheVPW A andM VRA.''161.at351n.6.
          The CVR A ttdoes notlim itthe classof crim e victim s to those whose identity constitutes

  an elem entofthe offense orwho happen to be identified in the charging instrum ent. Stewart,552

   F.3d at1289. Rather,the CV RA tçinstructs the districtcoul'
                                                             tto look atthe offense itselfonly to

   detenuine the harm fuleffectsthe offense hason parties.'' 1d. Etu nderthe plain language ofthe

   statute,apartym ay qualify asavictim ,even though itmay nothavebeen thetargd ofthecrime,

   aslong as itsuffersharm asa resultofthe crim e'scom mission.'' 1d..
                                                                     ,seealso United States v.

   Washington,434F.3d 1265,1268-1270 (1lth Cir.2006)(tinding thathavingproperty damaged
Case 9:17-cr-80242-RLR Document 27 Entered on FLSD Docket 07/27/2018 Page 4 of 7




   during the escape from a bank robbery qualifies one as a victim under the M VT:A because the

   damagewasadirectandproximateresultoftheoffense).
          Sim ilarto the CV RA ,the M V RA and the V W PA definea victim asçtaperson directly and

   proxim ately harm ed as a result of the colnm ission of an offense for w hich restitution m ay be

   ordered,including,in the case ofan offense thatinvolves asan elem enta schem e conspiracy,or

   pattern of crim inalactivity,any person directly harm ed by the defendant's crim inalconduct in

   the courseofthe scheme,conspiracy,orpattern.'' 18 U.S.C.j 3663(a)(2);id j3663A(a)(2).
   UndertheVW PA,theterm tçvictim''isdefinedmorebroadly(althoughsomecourtsusethemore
   expansivedefinitionfortheCVRA too,see,e.g.,McNulty,597F.3dat351n.6).lnthecontext
   oftheMVlkA,ItheEleventh Circuithasheldthat6çdirectly andproximately''meansthatttgtlhe
   govenunentm ustshow notonly thataparticularlossw ould nothave occurred butforthe conduct

   underlying the offense ofconviction,butalso thatthe causalconnection betw een the conductand

   thelossisnottoo attenuated.'' United States v.Robertson , 493F.3d 1322,1334(l1thCir.2007)

   (internalcitationandquotationsomitted).TheEleventhCircuitalso statedthatthedefendant's
   conductûtneed notbe the sole cause ofthe loss,butany subsequentaction thatcontributesto the

   loss,such asan intenrening cause,m ustbe directly related to the defendant'sconduct.The causal

   chain m ay notextend so far,in term s ofthe facts orthe tim e span,as to becom e unreasonable.''

   f#.(internalcitation andquotationsomitted).
          A courti'must(ormayforVW PA!orderrestitutiontoallvictimsforlossestheysustained
   as a resultofthe defendants'conductduring the course ofthe conspiracy,as long as the losses



   1See Vergez, 2016W L 695709at*5(discussingRobertsonin thecontextoftheCVRA andnoting(n.l)
   thattheçtdefinitionoficrimevictim'intheCVRA isbasedonthesimilardefinition intheM VRA'').See
   alsoIn reMcNulty,597F.3dat350,n.6 (û$LW1efindourcaselaw construingtheVWPA andMVRA
   persuasive,both forhow the CVRA isto be interpreted,and forwhen an individualqualifiesas avictim
   ofeonspiracy.').
Case 9:17-cr-80242-RLR Document 27 Entered on FLSD Docket 07/27/2018 Page 5 of 7



  resulted directly from thedefendants'condllctand w ere closely related to theconspiracy.''United

  Statesv.Hirmer,767F.supp.zd 1305,l309(N.D.Fla.20l1)(citing UnitedStatesv.Valladares,
   544F.3d1257,1269(11thCir.2008)'
                                 ,UnitedStatesv.Dickerson,370F.3d1330,1339-43(11th
  Cir.2004)).Seealso United Statesv.Edv,ards,728F.3d l286,1293 (1lth Cir.2013). Butçça
  clim inaldefendantcannotbe com pelled to pay forrestitution forconductcom m itted outside the

   schem e, conspiracy, or pattern of crim inal behavior underlying the offense of conviction.''

  D ickerson,370 F.3d at l34l.

          2.     A nalysis

          Under the CVR A,the G overnm entof Venezuela does notqualify as a ççvictim ,''as the

   CVRA'Sdefinition ofttperson''doesnotincludesovereignentities. Sdt?e.g.VernlontAgencyof
   NaturalRes.P:ULS.cxrc/.Stevens,529 U.S.765,780-81(2000)(intepretativepresumption is
   grounded inpartonthelanguageoftheDi
                                     ictionary Act,1U.S.C.j 1theCVRA'Sdefinition of
   Gçperson''doesnotincludesovereignentities.Secag.VermontAgency ofNaturalRes.PèULS.cx
   rc/.Stevens,529U.S.765,780-81(2000)(linterpretativepresumption isgrounded inpartonthe
   languageoftheDictionaly Act,1U.S.C.j 1).M oreover,theU.S.AttonzeyGeneralGuidelines
   forVictim andW itnessAssistance(2012)(CtAG Guidelines'')providethattGgnleitherthefederal
   governm entnor any state,local,tribal,or foreign goverlam ent or agency thereof fall under the

   definition of crim e victim for either m andatory services or courtenforceable rights.'' See A G

   Guidelines at 12. Atleastone districtcoull has concluded,based on the D ictionary A ctand the

   A G Guidelines,thata sovereign entity cannotbe a çtcrim e victim ''underthe CV RA . See United

   Statesv.Kasper,60 F.Supp 3d 11777,1178-79 (D.N.M .2014)(tribalgovernmentwasnota
   crime victim forpurposesofthe CVRAI;see also ln re Her Jt
                                                           ft#c-
                                                               ç/.J?the Pl/cca in Rightof
   Canada,785F.3d 1273,1277(9th Cir.2015)(percuriam)(notingtheopenquestionofwhether
Case 9:17-cr-80242-RLR Document 27 Entered on FLSD Docket 07/27/2018 Page 6 of 7




  aforeign sovereign ûtisaSperson'whomay'beaçûcrimevictim''under18 U.S.C.j3771(e),''but
  decliningtoreachtheissueanddenyingrestitutiononothergroundsl.z

          Regardless,the Governm entofV ertezuela'scom plicity in this conspiracy renders victim

  status inappropriate under any applicable statute. The defendant,w ho accepted bribe paym ents

  to authorize co-conspirators to conduct currency exchanges on behalf of the Venezuelan

   Governm ent,w as the Venezuelan N ationalTreasurer. Under these circum stances - where a

  m em ber ofthe V enezuelan Govenam entisa co-conspiratorin the charged offense - itwould be

   inappropriate to afford the G ovenzm entofVenezuela victim statusforpuzposes ofthe M V RA or

   any otherapplicable statute.

                  C onclusion
          For the reasons stated above,the governm ent subm its thatthe V enezuelan G overnm ent

   doesnotqualify for victim statusunderthe CV RA,M V RA ,and VW PA in thiscase. ln lightof

   the Court'sinquiry on this issue,and pursuantto itsobligationsunderthe applicable statutes,the

   governm entw illcontinue to exam ine thisissue as the case and overallinvestigation progress.




   2 Sovereigm entities can be recognized as victim s entitled to restitution underthe M VItA . See United
   Statesv.Zhang,789F.3d214,216-17(1stCir.2015)IIRSwasaneligiblevictim under'theMVRA and
   collectingcases).Thegovernmentrespectfullysubmitsthat,iftheCourtbelievesitneozssarytoinquire
   further into this issue,itmay be appropriate to postpone consideration untilthe defendant's sentencing
   hearing when the factualrecord islikely tobe even ftzrtherdeveloped.
Case 9:17-cr-80242-RLR Document 27 Entered on FLSD Docket 07/27/2018 Page 7 of 7




                                             Respectfully subm itted,

                                             SA N DR A M O SER
                                             A CTING CH IEF,FR AU D SECTION
                                             Crim inalD ivision
                                             U .S.D epartm entofJustice


   oate:v/x-/zs ya                     YX:
                                             v x sssA      v osR        ;   1F
                                             p u l-HA    Ex
                                             TRIA L A'rvo ltx sv s
                                      '
                                                                            y



   Ilate:/z./> .e                      By:
                                               CHA EL N A LER
                                                                        *

                                              SSISTA N T .S.A TTORN EY
                                             United StatesA ttom ey'sO ftice
                                             Southern DistlictofFlorida
